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                    SO ORDERED: September 20, 2018.




                       ______________________________
                       James M. Carr
                       United States Bankruptcy Judge




                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION

 IN RE:

 David Brent Willis,                     Case No. 17-01361-JMC-7A

    Debtor.

    ORDER GRANTING TRUSTEE’S MOTION FOR AUTHORITY TO SELL
            REAL ESTATE PURSUANT TO PRIVATE SALE

      This matter comes before the Court on Trustee’s Motion for Authority to

Sell Real Estate Pursuant to Private Sale [Docket # 41] (“Motion to Sell”) filed by

Gregory K. Silver, Chapter 7 Trustee (“Trustee”). The Court, having reviewed

the Motion to Sell, having noted that the U.S. Trustee’s Limited Objection to

the Motion to Sell (Docket #47] was subsequently withdrawn [Docket #49], and

being otherwise duly advised, now GRANTS the Motion to Sell.

      WHEREFORE, it is Ordered, Adjudged and Decreed that:
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      1.       The sale of the real estate located at 6728 Silver Tree Dr.,

Indianapolis, IN 46236 (“Real Estate”), as described in the Motion to Sell, is

hereby granted;

      2.       The Trustee is authorized to sell the Real Estate to Rex Residential

Property Owner, LLC, pursuant to the terms of the Purchase Agreement and all

attachments, as appended to the Motion to Sell as Exhibit A.

      3.       The sales price of $136,000 plus a buyer’s premium of $5,000 is

hereby approved. The sales price of $136,000 shall pay all costs of sale,

including but not limited to a 6% real estate commission, to be divided equally

among the three realtors involved and payment of the balance to Citizens Bank

NA. The buyer’s premium of $5,000 shall be paid directly to the Bankruptcy

Estate of David Brent Willis and administered by the Trustee for the benefit of

unsecured creditors.

      4.       Trustee is authorized to execute any and all other documents

necessary, including a Trustee’s Deed, to consummate the sale per the Motion

to Sell and the Purchase Agreement.

      5.       Trustee shall file a Report of Sale within fourteen (14) days after

the closing.

      6.       Trustee, after closing, shall apply to the Court for approval of the

realtors’ real estate commission fees.

      7.       Trustee is hereby authorized to pay the outstanding sale motion

fee of $181 to the Clerk of the Court.
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      8.       The statutory trustee fee pursuant to 11 U.S.C. §§ 326 and 330

shall not exceed the total amount of $2,500 and the remaining funds in the

estate shall be distributed pro rata to unsecured creditors in the case pursuant

to 11 U.S.C. § 726.

      9.       Trustee shall file all required documents to fulfill his obligations

under the Bankruptcy Code and Rules, including but not limited to:

applications for professional fees; application for statutory trustee fees; Trustee

Final Report; Notice of Final Report; and Trustee Final Account.

      10.      Such sale of Real Estate shall be “as is,” “where is,” and with “no

warranties.”

      11.      Upon consummation of the sale and payment of the sale proceeds,

liens or any other secured claims are deemed fully satisfied and extinguished

as to the Real Estate and hereby attach to the proceeds.

      12.      This Order shall be, and hereby is, deemed a Final Order.

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